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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 10-23265-CIV-MOORE/SIMONTON

   BARBARA SCHULTE,

          Plaintiff,
   v.

   NCL (Bahamas) Ltd.,

          Defendant.
                                     /

                              ORDER ON DISCOVERY MOTIONS

          Presently pending before the Court is Plaintiff's Motion for Protective Order and

   to Compel Discovery (DE # 23) and Defendant's Motion for Protective Order Regarding

   Production of Video (DE # 22). The Motions are fully briefed (DE ## 24, 26, 27, 29). Also,

   pending before the Court is Plaintiff's Motion to Compel 2nd Shipboard Inspection (DE #

   30) and Motion to Expedite Briefing Schedule on Motion to Compel 2nd Shipboard

   Inspection (DE # 35).1 The Motions have been referred to the undersigned (DE # 5). A

   hearing was held on the Motions on January 25, 2011, wherein, after hearing arguments

   from counsel, the undersigned announced her rulings on the Motions. This Order

   incorporates the rulings made from the bench at that hearing.

         I. BACKGROUND

         This matter was initiated when Plaintiff Barbara Schulte filed a Complaint against

  Defendant NCL, (Bahamas), Ltd. (“NCL”), seeking damages related to injuries sustained


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            Plaintiff's Motion to Overrule Discovery Objections and Compel Better
   Discovery Answers (DE # 33) is also pending before the Court but is not ripe for
   adjudication. However, the Court discussed the pending Motion with the Parties at the
   hearing on the other Motions. At the hearing, the Parties were directed to confer with
   one another based upon the guidance provided by the Court in an attempt to resolve the
   issues raised in the Plaintiff’s Motion prior to January 31, 2011, the due date for
   Defendant’s response to that Motion.
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  by Plaintiff following a slip and fall incident aboard the NCL cruise ship, the NORWEGIAN

  JEWEL (DE # 1). The Complaint sets forth one-count of negligence against NCL for,

  among other things, allegedly failing to keep the ship deck’s surface clean and dry and

  failing to warn Plaintiff that the deck was slippery, wet and hazardous (DE # 1 ¶ 13).

         II. PENDING MOTIONS

                A. Defendant’s Motion for Protective Order and Plaintiff’s Motion for
                Protective Order & Motion to Compel Discovery

         Defendant has filed a Motion for Protective Order Regarding Production of Video

  (DE # 22) seeking to have this Court issue a protective order which permits the Defendant

  to not produce, in response to Plaintiff’s Request for Production, a video taken aboard

  the cruise ship at the time of the Plaintiff’s accident. Defendant asserts that it should not

  have to produce the video because it was preserved in anticipation of litigation and thus

  is protected by the work product privilege (DE # 22 at 2). In addition, Defendant asserts

  that producing the video to Plaintiff prior to Plaintiff’s deposition being taken will

  severely prejudice Defendant because Plaintiff will be able to tailor her deposition

  testimony to the events captured on the video. Defendant further argues that Plaintiff will

  suffer no prejudice if the video is provided to her after her deposition is completed.

         Conversely, Plaintiff has filed a Motion for Protective Order and to Compel

  Discovery (DE # 23), that basically mirrors Defendant’s Motion for Protective Order, and

  which seeks to relieve Plaintiff from having to attend her deposition until NCL produces

  the video of the accident to the Plaintiff. In addition, Plaintiff seeks to compel NCL to

  produce the video in response to Plaintiff’s Request for Production propounded on NCL

  which specifically requested production of all “...video depicting the subject accident.”

  (DE # 23 at 1).


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         Both Parties responded in opposition to the respective Motions, and at the hearing

  on the Motions, both reiterated their positions as stated in their papers.

                       i. Framework for Analysis

         Federal Rule of Civil Procedure 26(b) which sets forth the work product doctrine,

  provides in relevant part,

                       3) Trial Preparation: Materials.

                (A) Documents and Tangible Things. Ordinarily, a party may
                not discover documents and tangible things that are prepared
                in anticipation of litigation or for trial by or for another party
                or its representative (including the other party's attorney,
                consultant, surety, indemnitor, insurer, or agent).

                But, subject to Rule 26(b)(4), those materials may be
                discovered if:

                (i) they are otherwise discoverable under Rule 26(b)(1); and
                (ii) the party shows that it has substantial need for the
                materials to prepare its case and cannot, without undue
                hardship, obtain their substantial equivalent by other means.

  Thus, as contemplated by this Rule, the work product doctrine protects materials

  prepared by an attorney acting for his client in anticipation of litigation from disclosure.

  See Federal Rules of Civil Procedure, Advisory Committee Notes, Rule 26(b)(3), 1970

  Amendment (discussing development of work product doctrine). The work product

  doctrine is distinct from and broader than the attorney-client privilege, and it protects

  materials prepared by the attorney, whether or not disclosed to the client, as well as

  materials prepared by agents for the attorney. In re Grand Jury Proceedings, 601 F.2d

  162, 171 (5th Cir. 1979).2 However, in order for the work product doctrine to apply, the



          2
           In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the
   Eleventh Circuit adopted as binding precedent the decisions of the former Fifth Circuit
   handed down prior to October 1, 1981.

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  party asserting the doctrine must demonstrate that at the time the materials were created

  or drafted, the entity must have anticipated litigation. CSK Transp., Inc. v. Admiral Ins.

  Co., 1995 WL 855421, at *2 (M.D.Fla. July 20, 1995). Thus, materials or documents drafted

  or created in the ordinary course of business are not protected. Id.

         Therefore, a court must determine when a contested item was created, and why

  that item was created in assessing the applicability of the work product doctrine. See,

  e.g. In re Sealed Case, 146 F.3d 881, 884 (D.C.Cir. 1998) (“The ‘testing question’ for the

  work-product privilege ... is ‘whether, in light of the nature of the document and the

  factual situation in the particular case, the document can fairly be said to have been

  prepared or obtained because of the prospect of litigation.’”).

         Like assertions of attorney-client privilege, the burden is on the party withholding

  discovery to show that the documents should be afforded work-product immunity. See

  United States v. Schaltenbrand, 930 F.2d 1554, 1562 (11th Cir.1991) (applying rule for

  attorney-client issue); Essex Builders Group, Inc. v. Amerisure Insurance Company, No.

  6:04-CV-1838-Orl-22JGG, 2006 WL 1733857 at *2 (M.D.Fla. June 20, 2006) (citing Grand

  Jury Proceedings v. United States, 156 F.3d 1038, 1042 (10th Cir.1998)) (“the party

  asserting work product privilege has the burden of showing the applicability of the

  doctrine”).

                        ii. Application of Law to Facts of Instant Case

         Based upon the following analysis, as explained on the record at the hearing, the

  undersigned concludes that the video at issue does not constitute work product; and, the

  timing of disclosure should not be delayed. Therefore, the video must be produced to

  Plaintiff prior to Plaintiff’s deposition.

         First, at the hearing on the Motion as in its papers, Defendant agrees that when the

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  video was originally made by NCL, it was not made in anticipation of litigation; and, thus

  did not constitute “work product” at the time it was created. However, Defendant argues

  that it became subject to work product protection when it was preserved based upon

  instructions by Counsel for NCL.3 In sum, Defendant argues that the act of preserving the

  video was done in anticipation of litigation and at the behest of counsel, and thus

  protects the video from disclosure pursuant to the work product doctrine.

         However as explained by the undersigned at the hearing, once NCL was aware that

  a claim might be made based upon the Plaintiff’s slip and fall incident, NCL had a duty to

  preserve that tape, and counsel had a duty to advise NCL to do so. In this regard, NCL’s

  decision to preserve the video is best viewed in the context of those cases where courts

  have examined spoliation claims based upon an entity’s failure to preserve evidence

  despite notice that it a lawsuit might be forthcoming. See, e.g., Cox v. Target Corp., 131

  Fed. Appx. 381 (11th Cir. 2009) (citing cases re: spoliation); Williams v. Wal-Mart Stores,

  Inc., 342 Fed. Appx. 478 (11th Cir. 2009), aff’g, 584 F. Supp.2d 1316 (M.D. Ala. 2008)

  (analyzing spoliation claim based on failure to preserve video surveillance tapes of area

  where slip-and-fall accident occurred); Aiello v. Kroger Co., 2:08-CV-01729-HDM-RJJ,

  2010 WL 352225 (D. Nev. Sept. 1, 2010) (same). It would be anomalous, to say the least, if

  by ordering a client to preserve evidence created in the ordinary course of business, in

  anticipation of litigation, counsel was able to shield that evidence from production based

  upon work product protection.

         Moreover, in determining that the act of preserving the tape does not convert the


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            Counsel for NCL has provided an Affidavit from Jane Kilgour, the NCL Manager
   of Passenger Claims, which states that the video was reviewed as part of NCL’s
   investigation in anticipation of litigation, and the sole reason it was preserved was
   because NCL anticipated litigation (DE # 27-1).

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  tape into work product protected from disclosure, the decision of the Fourth District

  Court of Appeal of Florida in Target Corp. v. Vogel, 41 So. 3d 962, 963 (Fla. Dist. App.

  2010), is persuasive. There, the Court expressly held that a video of the accident itself is

  not work product and thus is discoverable. Specifically, in Vogel, the Court ordered

  production of a surveillance video prior to the plaintiff’s deposition, and distinguished

  between a surveillance video tape of the slip and fall taken at the time of the accident in

  that case, from those cases in which a surveillance video was taken after an incident,

  usually by a defense private investigator. Vogel at 963 (distinguishing case from Dodson

  v. Persell, 390 So.2d 704 (Fla. 1980) where video made after incident by private

  investigator). Although Vogel was decided under Florida law, and federal courts apply

  the federal work product privilege rather than the state work product privilege to federal

  cases, the Vogel court’s analysis is wholly consistent with the Federal work product

  privilege and thus applies with equal force to the case sub judice.

         In this matter, there is no question that the video tape was made as part of the

  normal course of surveillance videos made by NCL. Thus, the video was not created in

  the work product context for purposes of or in anticipation of litigation. As such, the

  video is not protected by the work product privilege. Further, as discussed above, the act

  of preserving that non-privileged video did not then convert it to work product. Thus,

  although there may be instances where the undersigned concludes that a surveillance

  video made at the time of the relevant incident may be considered work product, under

  the facts of this case, the Court finds that the video is not work product because there

  has been no showing that it was prepared in anticipation of litigation.

         Defendant’s reliance on Bolitho v. The Home Depot USA, Inc., Case No. 10-60053-

  CIV-COHN-SELTZER, does not alter this Court’s conclusion, although the scenario in

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  Bolitho is remarkably similar to the scenario in the case at bar, and the Court there

  delayed production until after the plaintiff’s deposition. In Bolitho, in the Magistrate

  Judge’s opinion denying the Plaintiff’s request for production of the video prior to the

  plaintiff’s deposition, the Court relied upon the ruling in Dodson v. Persell, to determine

  that the video constituted work product. However, as discussed above, Dodson involved

  a request for a surveillance video made after the incident, rather than a video of the actual

  accident made prior to the anticipation of litigation. Further, although Defendant

  correctly points out that the Magistrate Judge’s opinion was affirmed by the District

  Judge in Bolitho, the District Judge held that even if he would have decided the matter

  differently on de novo review, there was no unfairness in requiring the plaintiff to sit for

  her deposition prior to the video being produced to her. Thus, the affirmance of the work

  product determination is dicta. For the reasons stated previously, the undersigned

  declines to follow Bolitho to the extent that it holds that a surveillance video made in the

  regular course of an entity’s business, which captures an accident at the time it occurs,

  becomes work product when counsel orders its preservation.

         Finally, as argued by Plaintiff, the other cases cited by the Defendant in support of

  its position are distinguishable because there was evidence in those cases that the

  plaintiff was likely to fabricate his/her testimony, or like Dodson, they involved after-the-

  fact surveillance tapes created in anticipation of litigation, rather than tapes which were

  merely preserved in anticipation of litigation.

         The undersigned recognizes that even though the tapes at issue are not work

  product, the Court retains the discretion to control the timing of discovery. Thus, under

  appropriate circumstances, the Court would not require production of a videotape prior to

  a plaintiff’s deposition. While not dispositive to the undersigned’s ruling on this issue,

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  in determining that it is appropriate for the Defendant to produce the video tape prior to

  the Plaintiff’s deposition, the Court has considered the fact that, as confirmed by the

  Defendant at the hearing, the Plaintiff made statements concerning the accident, at the

  time it occurred, to ship personnel. In addition, Plaintiff described the location of her fall,

  albeit inaccurately, at the time she attended the inspection of the vessel. Defendant has

  failed to point to any aspect of the video, and/or any action by Plaintiff, that would cause

  this Court to find that disclosure of the video would lead Plaintiff to improperly tailor her

  testimony. As such, there appears to be little, if any, prejudice to the Defendant if the

  Plaintiff is permitted to view the video to refresh her recollection prior to her deposition.

  Accordingly, the Defendant shall produce the video to the Plaintiff prior to her deposition,

  under the terms discussed at the hearing–either by providing a copy, or providing access

  if a viewable copy cannot be made due to the need for proprietary software.

                B. Plaintiff’s Motion to Compel 2nd Shipboard Inspection

         In this Motion, Plaintiff seeks to have this Court compel the Defendant to permit a

  second inspection aboard the NCL cruise ship “Jewel” where Plaintiff’s accident

  occurred. According to the Motion, although Plaintiff has already inspected the ship

  once, because Plaintiff’s husband was not permitted to attend that inspection, Plaintiff

  misidentified the location of the incident by approximately by twelve feet. Plaintiff

  contends that her misidentification was purely innocent; and, as a result of that

  misidentification, Plaintiff’s expert tested a different area than the area where Plaintiff fell.

  In support of the Motion, Plaintiff submitted the Affidavit of Barbara Schulte wherein Ms.

  Schulte states that shortly after she fell on the deck of the ship, ship personnel arrived at

  the scene and took her directly to the medical facility for medical care (DE # 30-1).

         At the hearing, Defendant argued that Plaintiff should not be permitted to re-

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  inspect the ship because at the time of the initial inspection, there was no indication that

  the Plaintiff was not aware of where on the ship the accident had occurred, and thus

  Plaintiff should not be allowed a second opportunity, particularly in light of the costs

  Defendant will have to incur in arranging the second inspection. In the alternative,

  Defendant argued that Plaintiff should be compelled for the costs incurred in conducting

  a second inspection, including attorney’s fees.

         The Court finds, under the facts of this case, it is appropriate to permit the Plaintiff

  to have a second inspection of the ship so that the Plaintiff’s expert may examine and

  test the relevant area of the ship where Plaintiff actually fell, rather than having the expert

  render an opinion on an area of the ship that may not be relevant to the just resolution of

  this matter. In reaching this result, the undersigned notes that based upon its videotape

  of the accident, NCL was aware, at the time of the inspection, of the area where the fall

  occurred. Although perhaps there was no obligation to point this out to Plaintiff’s expert,

  the failure to do so, especially in light of Defendant’s refusal to produce the video,

  militates in favor of a second inspection. However, because Plaintiff has already had one

  opportunity to inspect the ship, and it was her obligation to ensure that she had all the

  information necessary to enable an appropriate inspection, the undersigned agrees, as

  ordered at the hearing, that any additional costs associated with a second inspection

  should be borne by the Plaintiff. Such costs will be payable at the conclusion of this

  matter. In addition, given the rapidly-approaching discovery deadline date, the Parties

  shall conduct the second shipboard inspection on or before February 2, 2011.




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               III. CONCLUSION

        Therefore, based on the foregoing, it is

        ORDERED AND ADJUDGED that Plaintiff's Motion for Protective Order and to

  Compel Discovery (DE # 23) is GRANTED and Defendant's Motion for Protective Order

  Regarding Production of Video (DE # 22) is DENIED. Defendant shall provide Plaintiff

  with a copy of the videotape prior to her deposition, or make appropriate viewing

  arrangements, as discussed at the hearing and described above. It is further

        ORDERED AND ADJUDGED that Plaintiff's Motion to Compel 2nd Shipboard

  Inspection (DE # 30) is GRANTED and Plaintiff’s Motion to Expedite Briefing Schedule

  on Motion to Compel 2nd Shipboard Inspection (DE # 35) is DENIED AS MOOT.

  However, Plaintiff shall bear the costs associated with the second Shipboard Inspection,

  including costs associated with the attendance at that inspection by Counsel for

  Defendant. Plaintiff shall pay such costs at the conclusion of this case.

        DONE AND ORDERED in chambers in Miami, Florida on January 25, 2011.




                                                   ANDREA M. SIMONTON
                                                   UNITED STATES MAGISTRATE JUDGE

  Copies furnished via CM/ECF to:
  The Honorable K Michael Moore
         United States District Judge
  All counsel of record




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